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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 17-cr-00141-RBJ

UNITED STATES OF AMERICA,

        Plaintiff,

v.

DEON JACKSON,
    a/k/a “D-Act,”

        Defendant.



     RESPONSE TO DEFENDANT’S OBJECTION TO PORTION OF PRESENTENCE
                           REPORT [DOC 25]



        The United States of America, by and through Robert C. Troyer, Acting United

States Attorney for the District of Colorado, and Susan D. Knox, Assistant United States

Attorney, hereby responds to the defendant’s objections to the presentence report and

respectfully requests that this Court overrule the objections for the following reasons:

1.      The defendant objects to the Court’s “discretion” to order the defendant be

ineligible for federal benefits for up to 10 years after his conviction.   The government

believes that the Court has this discretion, however, the government has never seen a

federal court exercise this discretion previously.

2.      The defendant objects to Probation’s recommendation for a search condition as

part of any term of supervised release imposed.            The government agrees with

Probation’s recommendation and joins the request for a search condition.
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3.     This Court has broad discretion in setting any special conditions of release.

United States v. Hanrahan, 508 F.3d 962, 970 (10th Cir.2007). This broad discretion is

not unlimited, however, as any ordered conditions must still satisfy the requirements of

18 U.S.C. § 3583(d). See United States v. Hahn, 551 F.3d 977, 983 (10th Cir.2008).

Thus, these conditions must fulfill three requirements.    First, the conditions “must be

reasonably related to at least one of the following: the nature and circumstances of the

offense, the defendant’s history and characteristics, the deterrence of criminal conduct,

the protection of the public from further crimes of the defendant, and the defendant’s

educational, vocational, medical, or other correctional needs.” See id. at 983-84; 18

U.S.C. § 3583(d)(1). Second, the conditions must not constitute “a greater deprivation

of liberty than is reasonably necessary to achieve the purpose of deterring criminal

activity, protecting the public, and promoting the defendant’s rehabilitation.”    See 18

U.S.C. § 3583(d)(2). Finally, the conditions must be consistent with “any pertinent policy

statements issued by the Sentencing Commission.” See id. at § 3583(d)(3).

4.     Here, a search condition is reasonably related to the nature and circumstances of

the current offense and the history and characteristics of the defendant.   The defendant

has been convicted in this matter of distributing more than 28 grams of cocaine base, a

schedule II controlled substance. The defendant has previously been convicted of other

serious offenses including previous narcotics offenses.      In 2007, the defendant was

convicted of Assault in Denver Municipal Court. In 2012, the defendant was convicted

of Possession of Marijuana with Intent to Distribute, a felony in Denver District Court. In




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2013, the defendant was convicted of Attempting to Influence a Public Servant, a felony

in Denver District Court. In 2015, the defendant was convicted of Violating a Court Order

in Denver Municipal Court. Importantly, the defendant was under supervision for two of

these cases when the instant offense was committed.             Clearly being under court

supervision does not deter the defendant from being involved in the distribution of

narcotics. A search condition is reasonably related to the current offense and the history

of the defendant.

5.     A search condition also does not produce a greater deprivation of liberty than is

reasonably necessary to deter the defendant from criminal conduct or to protect the public

from future crimes of the defendant.     If the defendant knows that his probation officer

may search his personal effects for controlled substances, he may be deterred from

possessing these controlled substances. Even if he is not so deterred, as this case and

his criminal history suggest is strongly likely, the public deserves to be protected from

future crimes of the defendant, particularly if he chooses to involve himself with controlled

substances again. A search condition gives probation the tools to ensure the public’s

safety. Such a condition is constitutional as applied to the defendant and is reasonably

related to the statutory provisions in 18 U.S.C. § 3583(d).




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6.    For the foregoing reasons, the government respectfully requests that this

Honorable Court overrule the defendant’s objection and order a search condition as part

of any term of supervised release imposed.

      Dated this 1st day of September, 2017.



                                                 Respectfully submitted,


                                                 ROBERT C. TROYER
                                                 Acting United States Attorney

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                               CERTIFICATE OF SERVICE

         I certify that on this 1st day of September, 2017, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to all counsel of record in this case



                                    By:       s/Diana Brown
                                              Legal Assistant
                                              United States Attorney=s Office




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